                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )     CASE NO. 3:07-CR-120-PLR
                                               )
 ANGEL CONTRERAS                               )




                            MEMORANDUM AND ORDER


        This matter is before the court on the defendant’s motion for sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 202]. The

 government has responded deferring to the court’s discretion whether and to what extent

 to reduce defendant’s sentence [R. 203].          The United States Probation Office has

 provided the court with a memorandum regarding retroactivity of Amendment 782. The

 defendant is presently scheduled for release on July 16, 2016.

        The defendant was convicted of conspiracy to distribute and possess with intent to

 distribute at least one kilogram of heroin, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(A). At sentencing, defendant was held responsible for distributing at least one

 kilogram of heroin. After a four-level enhancement for his role in the offense, and a

 three-level reduction for acceptance of responsibility, his total offense level was 33, with

 a criminal history category I, resulting in an advisory guideline range of 135 - 168

 months. Defendant was sentenced on March 31, 2011, to 135 months imprisonment.




Case 3:07-cr-00120-TWP-HBG         Document 204        Filed 06/12/15   Page 1 of 2    PageID
                                         #: 543
       Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 31, with a criminal history category I,

 resulting in an amended guideline range of 108 - 135 months.         Because defendant

 remains subject to a statutory mandatory minimum of 120 months, however, his effective

 guidelines range is 120 – 135 months. Giving defendant a comparable adjustment, and

 taking into account the policy statements set forth at USSG § 1B1.10 and the sentencing

 factors set forth in 18 U.S.C. § 3553(a), it is hereby ORDERED that the defendant’s

 motion [R. 202] is GRANTED, and the defendant’s sentence is reduced to 120 months.

       If this sentence is less than the amount of time the defendant has already served,

 the sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated March 31, 2011,

 shall remain in effect. The effective date of this order is November 2, 2015. See

 USSG § 1B1.10(e)(1).

       IT IS SO ORDERED.

       Enter:



                                         ____________________________________
                                         UNITED STATES DISTRICT JUDGE




                                            2

Case 3:07-cr-00120-TWP-HBG       Document 204      Filed 06/12/15   Page 2 of 2     PageID
                                       #: 544
